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               EXHIBIT 57
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

   CABLE NEWS NETWORK, INC., et al., CA No. 1:18-cv-02610-TJK


                   Plaintiffs,             Washington, D.C.
   v.                                      Friday, November 16, 2018
                                           10:00 a.m.

   DONALD J. TRUMP, et al.,

                   Defendants.


                       TRANSCRIPT OF MOTION HEARING
                HELD BEFORE THE HONORABLE TIMOTHY J. KELLY
                       UNITED STATES DISTRICT JUDGE

   APPEARANCES:

   For the Plaintiffs:         Theodore J. Boutrous, Jr., Esq.
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   Proceedings recorded by machine shorthand; transcript
   produced by computer -aided transcription.
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 1                                PROCEEDINGS
 2                  THE DEPUTY CLERK:     Your Honor, this is civil

 3      matter 18-2610, Cable News Network, Incorporated, et al., v.

 4      Donald J. Trump, et al.

 5                 Will counsel please approach the lectern and state

 6      your appearance for the record.

 7                 MR. BOUTROUS:     Good morning, Your Honor.          Theodore

 8      Boutrous for Plaintiffs CNN and Jim Acosta.

 9                  THE COURT:    Good morning, sir.

10                 MS. CHAMPION:     Good morning, Your Honor.          Anne

11      Champion from Gibson Dunn for Plaintiffs CNN and Jim Acosta.

12                 MR. LIPSHUTZ:     Good morning, Your Honor.          Joshua

13      Lipshutz from Gibson Dunn for Plaintiffs CNN and Jim Acosta.

14                  THE COURT:    Good morning.

15                 MR. BURNHAM:      Good morning, Your Honor.      James

16      Burnham here on behalf of the defendants, along with Michael

17      Baer, Eric Womack and Joseph Borson.

18                  THE COURT:    All right.     Good morning to you all.

19                 We are here for an oral ruling on the plaintiffs'

20      application for a temporary restraining order.

21                 And I'd better get some water right away here.

22                  (Brief pause.)

23                 On November 7th, 2018, President Trump held a news

24      conference at the White House.         Soon after it started, he

25      called on Plaintiff Acosta, a reporter for CNN, to take a
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 1      question from him.     After Mr. Acosta asked several questions

 2      about the caravan of migrants heading to the U.S.-Mexican

 3      border, the President indicated that he wanted to move on to

 4      call on another reporter but Mr. Acosta would not be seated

 5      and continued trying to ask his question and then he would

 6      not give up the microphone, even when approached by an

 7      intern employed by the White House Press Office who

 8      attempted to retrieve it from him.        The President made

 9      several comments toward Mr. Acosta while this happened,

10      including, You are a rude, terrible person, and, When you

11      report fake news which CNN does a lot, you are an enemy of

12      the people.    Eventually, Mr. Acosta did relinquish the

13      microphone.

14                  That night, his Secret -- the Secret Service asked

15     Mr. Acosta to relinquish his hard pass, his credential that

16      allows him access to the White House press facilities.          That

17      same evening, the White House Press Secretary, Sarah

18      Sanders, posted a video on Twitter purporting to show the

19      exchange between Mr. Acosta, the intern and the President.

20      In a tweet, Ms. Sanders cited the conduct in the video as

21      the reason that Mr. Acosta's hard pass had been revoked.          In

22      a tweet, she characterized Mr. Acosta as placing her hand --

23      his hands on the intern and she also asserted that Mr.

24     Acosta had been disrespectful to his colleagues to not allow

25      them to -- the opportunity to answer a question.
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 1                  The next day, on November 8th, CNN sent a letter

 2      to the White House requesting that Ms. -- the reporter's

 3      credentials be reinstated immediately.         CNN alleged that the

 4      White House simply did not like the content of the questions

 5      posed to the President and threatened to take legal action

 6      if the revocation was not reversed.

 7                  The next day, on November 9th, the President

 8      suggested that other reporters might have their credentials

 9      revoked and that reporters must treat the White House with

10      respect and treat the presidency with respect and he also

11      conceded that Mr. Acosta's -- but he also conceded that Mr.

12     Acosta's conduct toward the Press Office intern had not been

13      overly horrible.

14                  Then the long holiday weekend intervened.           And on

15      the morning of Tuesday, November 13th, CNN and Mr. Acosta

16      filed this lawsuit and moved for a temporary restraining

17      order.

18                  That morning, after -- the same morning, after the

19      suit was filed, Ms. Sanders issued a written statement

20      setting forth reasons for the revocation of Ms. -- Mr.

21     Acosta's hard pass.      It read:    We have been advised that CNN

22      has filed a complaint challenging the suspension of Jim

23     Acosta's hard pass.      This is just more grandstanding from

24      CNN and we will vigorously defend against this lawsuit.

25      CNN, who has nearly 50 additional hard pass holders, and Mr.
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 1     Acosta is no more or less special than any other media

 2      outlet or reporter with respect to the First Amendment.

 3     After Mr. Acosta asked the President two questions, each of

 4      which the President answered, he physically refused to

 5      surrender a White House microphone to an intern so that

 6      other reporters might ask their questions.         This was not the

 7      first time this reporter had -- has inappropriately refused

 8      to yield to other reporters.       The White House cannot run an

 9      orderly and fair press conference when a reporter acts this

10      way which is neither appropriate nor professional.              The

11      First Amendment is not served when a single reporter, of

12      more than 150 present, attempts to monopolize the floor.              If

13      there is no check on this type of behavior, it impedes the

14      ability of the President, the White House staff and members

15      of the media to conduct business.

16                  To obtain a temporary restraining order, the

17      plaintiffs must clearly demonstrate, one, a likelihood of

18      success on the merits of their claim; two, a likely

19      irreparable harm in the absence of preliminary relief;

20      three, a balance of the -- that the balance of the equities

21      is in their favor; and, four, that the TRO is in the public

22      interest.   And where the Government is the party opposing

23      the TRO, the Court merges the latter two factors into a

24      single inquiry.

25                  Much of our discussion at the hearing the other
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 1      day concerned the applicability or inapplicability of the

 2      D.C. Circuit case Sherrill v. Knight.         I'm going to first

 3      talk about the likelihood of success of [sic] the merits

 4      with regard to the plaintiffs' Fifth Amendment due process

 5      claim.

 6                 Much of our discussion at the hearing concerned

 7      the applicability of Sherrill v. Knight.         I've read the case

 8      closely and I think it's fair to conclude, as the Government

 9      argued, that there are at least some portions of it that

10      plaintiffs would rely on that are fairly characterized as

11      dicta, but if Sherrill stands for anything at all,          I think

12      it's unavoidable to conclude that it -- to conclude anything

13      other than it stands for the Fifth Amendment's due process

14      clause protects a reporter's First Amendment liberty

15      interest in a White House press pass.        Whether that's a

16      holding I agree with or not is another thing, but that is

17      not relevant.     The case has not been abrogated and, as a

18      district judge,   I must apply the precedent of this circuit

19      as I see it.

20                  So let me quote from Sherrill.       Quote, In our

21      view, the procedural requirements of notice and the factual

22      basis for denial and opportunity for the applicant to

23      respond to these and a final written statement of the

24      reasons for denial are compelled by the foregoing

25      determination that the interest of a bona fide Washington
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 1      correspondent in obtaining a White House press pass is

 2      protected by the First Amendment.        This First Amendment

 3      interest undoubtedly qualifies as liberty which may not be

 4      denied without due process of law under the Fifth Amendment.

 5                 A few more words about Sherrill before I move on.

 6                  The Government argued that the holding of Sherrill

 7      is limited to Secret Service restrictions based on security

 8      concerns, and the Government points out there's nothing in

 9      the record here that the security of the President or the

10      White House is at issue, but Sherrill, as I read it,

11      provides no reason why the court's recognition of a First

12     Amendment interest in a press pass -- in a White House press

13      pass would turn on whether that decision to limit that

14      interest was made by the White House Press Office or the

15      Secret Service or any other part of the executive branch,

16      and the case suggests no reason to me why the due process

17      required to deny someone a pass would turn on a specific

18      component of the executive branch that made that decision.

19      The court was very clear that the basis of this interest was

20      rooted in the First Amendment and not the decision of any

21      part of the executive branch to agree that Sherrill should

22      be granted the press pass.

23                  The Government also made the point that there is

24      case law for the proposition that the public doesn't have a

25      general First Amendment right to enter the White House
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 1      grounds.   I have no quarrel with that at all, but Sherrill

 2      holds that once the White House opens a portion of it up to

 3      reporters for their use, some kind of First Amendment

 4      liberty interest protected by a due process right is

 5      created, and I simply have no choice but to apply that

 6      precedent here.

 7                  The Government also argued that some of the

 8      factual underpinnings of Sherrill had changed and that

 9      today, the White House routinely exercises discretion in

10      different ways, giving out hard passes to certain

11      journalists aside from whatever review the Secret Service

12      undertakes for security purposes.        I can see how that might

13      be relevant in examining the nature of whatever liberty

14      interest Sherrill holds is at stake here, but even assuming

15      that was a distinction that would make a difference in terms

16      of how I apply Sherrill,     I don't have any evidence in the

17      record here; I don't have any declarations or sworn

18      statements that explain how that factual landscape has

19      shifted since Sherrill was decided.

20                 And, finally, the Government makes the point that

21      the First Amendment does not restrict the ability of the

22      President to dictate the terms of how he chooses to engage

23      or not engage with any particular journalist.          That seems

24      entirely correct to me, but nothing in the holding of

25      Sherrill relating to the Fifth Amendment due process right
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 1      it recognized contradicts that.        In fact, Sherrill

 2      explicitly recognizes the President's right to engage with

 3      whomever he pleases.      Certainly, he need not ever call on

 4      Mr. Acosta again.     But under Sherrill, as I read it, the

 5      government must provide Mr. Acosta due process if it is to

 6      revoke his hard pass.      Accordingly, the likelihood that the

 7      plaintiffs succeed on the First -- on the Fifth Amendment

 8      claim hinges on whether the government provided adequate due

 9      process to Mr. Acosta.      The court in Sherrill held that this

10      process must include notice, an opportunity to rebut the

11      government's reasons and a written decision.          And all the

12      court -- although the court in Sherrill did not have

13      occasion to address it, when an important interest is at

14      stake and when the government is able to provide this

15      process before deprivation, it generally must do so.             There

16      is no evidence that one of the few exceptions to this rule

17      would apply here such as some kind of emergency.           So I do

18      hold that plaintiffs have demonstrated a likelihood of

19      success on their claim that adequate process was not

20      provided to Mr. Acosta.       Indeed, whatever process occurred

21      within the government is still so shrouded in mystery that

22      the Government could not tell me at oral argument who made

23      the initial decision to revoke Mr. Acosta's press pass --

24      his hard pass.

25                  On the notice, as for notice, the Government
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 1      points to only one statement that could possibly constitute

 2      prior notice to Mr. Acosta that his pass would be revoked,

 3      the President's statements to him during the exchange at the

 4      press conference on November 7th, but the President's

 5      statements did not revoke -- did not reference Mr. Acosta's

 6      hard pass at all, let alone that it would be revoked;

 7      therefore, that statement cannot have put him on notice of

 8      the government's intention to revoke it.

 9                  Now, it is true that the public and Mr. Acosta

10      were eventually provided two things.         First, explanations as

11      to why his hard pass was revoked through Ms. Sanders's

12      tweets; and a written statement of explanation, apparently

13      prompted by this litigation, but given their timing and

14      their lack of connection to Mr. Acosta's opportunity to

15      rebut -- which we'll talk about in a moment -- these belated

16      efforts were hardly sufficient to satisfy due process.

17                  As for Mr. Acosta's opportunity to be heard in

18      rebuttal, the Government points to the letter CNN sent to

19      the White House the day after his hard pass was revoked, but

20      this does not reflect a meaningful opportunity to rebut the

21      government's reasons for the revocation or to challenge the

22      appropriateness of the government's action.          Indeed, anyone

23      can avail themselves of the mail, and there's nothing in the

24      record that demonstrates that whoever the decisionmaker --

25      the initial decisionmaker was in this case read or
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 1      considered the letter.      And, of course, the letter was sent

 2      after the revocation, not beforehand.         The need for the

 3      opportunity to be heard seems especially important in this

 4      case when the record strongly suggests that one of the

 5      initial specific reasons for the revocation cited by the

 6      government -- that Mr. Acosta laid his hands on the White

 7      House intern -- was likely untrue and was at least partly

 8      based on evidence that was of questionable accuracy.

 9                  At oral argument, the Government made the point

10      that more process would not have helped here because the

11      ultimate decisionmaker -- I believe, is how the Government

12      referred to the President -- at a minimum, ratified this

13      action.   Maybe that's so, but on the record before me which,

14      at this point, is devoid of evidence concerning who, in the

15      government, first reached this decision; how they reached

16      the decision; whether they considered CNN's letter or

17      whether they considered potential other responses by the

18      government,   I simply cannot assume that that would be so.

19                  So in light of all the above, I find that the

20      plaintiffs are likely to succeed on the merits of their

21      Fifth Amendment due process claim.

22                  I'll now talk about irreparable harm with regard

23      to that claim.

24                  The plaintiffs also must demonstrate that

25      irreparable harm will result in the absence of preliminary
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 1      relief.    That harm must be both certain and great, and it

 2      must be actual and not theoretical.         Here, harm to Mr.

 3      Acosta has already occurred.       As already explained, he's

 4      demonstrated a likelihood of success on the merits of his

 5      claim that his Fifth Amendment due process rights were

 6      violated such that his liberty interests were deprived;

 7      therefore,    I don't need to speculate or theorize as to

 8      whether harm will occur absent preliminary relief, but for

 9      plaintiffs to satisfy their burden, the harm must be

10      irreparable.     Constitutional injuries are often considered

11      irreparable due to their very nature.         Indeed, the D.C.

12      Circuit has held that, quote, Suits for declaratory and

13      injunctive relief against the threatened invasion of a

14      constitutional right do not ordinarily require proof of any

15      injury other than the threatened constitutional deprivation

16      itself, closed quote.

17                   On the other hand, procedural due process injuries

18      do not necessarily cause irreparable harm when, for example,

19      the thing that is deprived is tangible property, because the

20      due process violation that led to that injury might be

21      reparable with money damages.        Here, the procedural due

22      process violation at issue that has led to the deprivation

23      -- to a deprivation of what Sherrill requires me to

24      recognize as a liberty interest as opposed to a property

25      interest that's grounded in, quote, The First Amendment
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 1      guarantee of freedom of the press, closed quote.

 2                  Moreover, the First Amendment interests, as

 3      recognized in Sherrill, were not vested merely in

 4      publications or agencies.       They were liberties of the

 5      individual journalists themselves.        For that reason, that

 6      CNN may still send another journalist or other journalist to

 7      the White House does not make the harm to Mr. Acosta any

 8      less irreparable.     Each day that he is deprived of that

 9      interest without the process prescribed by the court in

10      Sherrill, he suffers a harm that cannot be remedied in

11      retrospect.    The Court cannot restore his access to press

12      briefings that have already occurred or to conversations in

13      the White House press facilities that have already been had.

14                  And so on this highly, highly unusual set of facts

15      and interests at stake, I do find that the plaintiffs have

16      met their burden of establishing that irreparable harm has

17      and will continue to occur in the absence of preliminary

18      relief.

19                  The next factors are the balance of the equities

20      and the public interests.

21                  In balancing the equities at stake, I find that

22      the harm to Mr. Acosta from sustaining an ongoing violation

23      of his Fifth Amendment due process rights outweighs the

24      government's interest in orderly, respectful press

25      conferences.     This is especially so because the government
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 1      can serve its stated interest in other ways during this

 2      litigation or perhaps until it is back before me arguing

 3      that their due process obligations had been fulfilled.

 4      Obviously, the balance of the equities would not likely have

 5      come out this way if Mr. Acosta had been excluded for safety

 6      or security reasons, in which case, my deference to the

 7      executive equities would be far, far higher.          But even in

 8      this circumstance,     I don't take lightly the executive

 9      branch's weighty general interest in control of its White

10      House press facility, but the balance here is tipped by the

11      fact that Sherrill obligates me to recognize the violation

12      of Mr. Acosta's due process rights and the resulting impact

13      on his First Amendment interests.        So in finding -- also, in

14      finding that these factors favor the plaintiffs,          I have also

15      considered case law that suggests that constitutional

16      violations are always contrary to the public's interest.

17                  So because the plaintiffs have shown a likelihood

18      that the government has violated Mr. Acosta's Fifth

19      Amendment rights under Sherrill, because the type of injury

20      he has suffered is irreparable and because the public

21      interest in the balance of equities favor granting a

22      temporary restraining order, I will grant the application

23      for a -- for the temporary restraining order here.           I will

24      order the defendants immediately restore Mr. Acosta's hard

25      pass until further order of the Court or the restraining
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 1      order expires.     And if, at some point after restoring the

 2      hard pass, the Government would like to move to vacate the

 3      restraining order on the grounds that it has fulfilled its

 4      due process obligations, then it may, of course, do so and I

 5      will promptly address that and then the remaining bases for

 6      the TRO.

 7                   I want to emphasize the very limited nature of

 8      today's ruling.     In resolving this TRO,     I haven't -- because

 9      I've found that it must be granted on -- as to the due

10      process claim, I haven't had to reach the plaintiffs' First

11      Amendment claim at all in which they alleged that the

12      government engaged in viewpoint or content discrimination.

13      So I want to make very clear a couple of things.           I have not

14      determined that the First Amendment was violated here;           I


15      have not determined what legal standard would apply to the

16      First Amendment claim here; I have not determined the

17      specific nature of the First Amendment interest that

18      Sherrill recognizes -- or that Sherrill at least doesn't

19      describe but recognizes, yes; and I haven't determined what

20      portions of Sherrill, if any, would bind me on those

21      questions.

22                   So let me turn to the parties, then, and suggest

23      that as far as procedurally moving forward goes, one -- the

24      avenue I thought of is to give you all some time to consult

25      with your clients; assess your positions; and come back
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 1      early next week -- perhaps Tuesday afternoon -- to see how

 2      you all would like to proceed from here.          I trust the --

 3      this litigation will continue in a rapid pace.          Either

 4      party?

 5                  MR. BOUTROUS:     Thank you.     Thank you very much,

 6      Your Honor.

 7                  That sounds like a good process to us.         We can

 8      confer.    We may be able to just confer and then report back

 9      Monday with the proposal and see if we can work out either a

10      briefing schedule for the preliminary injunction or

11      something else and, if not, we can just come back and see

12      you on Tuesday.

13                  THE COURT:     All right.     So your proposal would be

14      a written joint report for the parties --

15                  MR. BOUTROUS:     Would that --

16                  THE COURT:     -- on Monday?

17                  MR. BOUTROUS:     Yeah.     Would that work for the

18      Court?

19                  THE COURT:     All right.     That's fine, if that's --

20      but I'd like to hear from Mr. Burnham.

21                  MR. BURNHAM:     Your Honor, I'd like to talk to our

22      clients.    That should be okay, but I'd just like to talk to

23      our clients and come up with a proposal before we --

24                  THE COURT:     Absolutely.     I mean, we can't have any

25      quicker turnaround than a joint report --
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 1                   MR. BURNHAM:     Right.

 2                   THE COURT:     -- on Monday.      So --

 3                   MR. BURNHAM:     Right.

 4                   THE COURT:     I mean,    I --

 5                   MR. BURNHAM:     The timing certainly works for us.

 6      Thank you.

 7                   THE COURT:     Fair enough.      So I'll get that report.

 8      Obviously, if you can agree on something, great; if you

 9      can't agree, if you would still submit it jointly but just

10      lay out your respective positions on where we go from here,

11      I'll take that under advisement, and my hope is -- well,

12      depending on what you all agree to, if we need to come back

13      to court next week, even though it's the short week -- the

14      holiday -- I will be available to do that.

15                   MR. BURNHAM:     Okay.     Thank you, Your Honor.

16                   THE COURT:     All right.

17                   MR. BOUTROUS:     We greatly appreciate it, Your

18      Honor.

19                   THE COURT:     All right.

20                   MR. BOUTROUS:     And then just procedurally, under

21      the TRO, we'll just proceed to get the hard pass back

22      immediately and have it reactivated.           Thank you very much.

23                   THE COURT:     Yes.   Is there any other -- anything

24      further -- else from the plaintiffs that you think I need to

25      address today before I turn to Mr. Burnham?
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 1                  MR. BOUTROUS:     I think that's it, Your Honor.

 2                  THE COURT:     All right.

 3                  MR. BOUTROUS:     Thank you.

 4                  THE COURT:     Sir?

 5                  MR. BURNHAM:     So Your Honor, under the local

 6      rules, our opposition to the PI is due on Tuesday.

 7                  THE COURT:     Okay.

 8                  MR. BURNHAM:     Would it be okay, given all that's

 9      going on, to suspend that deadline until we file our joint

10      status report?

11                  THE COURT:     Yeah.     I assume the plaintiffs --

12                  MR. BURNHAM:     I assume --

13                  THE COURT:     -- would agree to that.

14                  MR. BURNHAM:     We haven't spoken about it.

15                  THE COURT:     Yes.

16                  MR. BOUTROUS:     That's fine with --

17                  MR. BURNHAM:     Okay.

18                  MR. BOUTROUS:     That's fine with us, Your Honor.

19                  THE COURT:     Yeah.     So that deadline certainly will

20      be, you know, held in abeyance --

21                  MR. BURNHAM:     Thank you, Your Honor.

22                  THE COURT:     -- vacated until I get your report and

23      we'll see where we go from there.

24                  MR. BURNHAM:     Thank you, Your Honor.

25                  THE COURT:     All right.
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 1                  MR. BOUTROUS:            Thank you.

 2                  THE COURT:       If there's nothing further, then,

 3      counsel's dismissed.

 4                  THE DEPUTY CLERK:                All rise.           This Honorable Court

 5      is adjourned.

 6                  (Proceedings concluded at 10:28 a.m.)

 7                               *   *   *   *   *   *   *   *   *   *   *   *   *


 8                      CERTIFICATE OF OFFICIAL COURT REPORTER

 9      I, TIMOTHY R. MILLER, RPR, CRR, NJ-CCR, do hereby certify

10      that the above and foregoing constitutes a true and accurate

11      transcript of my stenographic notes and is a full, true and

12      complete transcript of the proceedings to the best of my

13      ability, dated this 16th day of November 2018.

14                                   /s/Timothy R. Miller, RPR, CRR, NJ-CCR
                                     Official Court Reporter
15                                   United States Courthouse
                                     Room 6722
16                                   333 Constitution Avenue, NW
                                     Washington, DC 20001
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